Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 1 of 49

02-CV-01683-DOCTRM Ce lQ- 17.

EXHIBIT 12

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Holtman, Jason (SEA)

From: Holtman, Jason (SEA)

Sent: Thursday, July 03, 2003 2:00 PM

To: ‘Bob Carlson’; Mark Walters; Sharon Hendricks
Cc: Gage, Linda (SEA)

Subject: VALVE: ltr and stipulation.

JPH_P21WS==StipJPH_L21WT==ttr to
to Chng Trial ... Carlson 7_3_...
Bob, please see attached letter and stipulation. Please return a copy of the conformed

copy once itis filed. Thank you and have a happy Fourth.

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 3 of 49

July 2, 2003

VIA EMAIL

Bob Carlson

Christensen O'Connor Johnson
& Kindness

1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Valve, L.L.C. v. Sierra Entertainment, Inc.
Dear Bob:

This letter will memorialize the agreement we reached this morning in terms of a discovery plan
and requesting an extension of the trial date from the court. Our agreement was reached in lieu of Valve
bringing a motion to compel today. Valve is not waiving the right to bring a motion to compel at a future
date should it be necessary.

We agreed that we will meet and confer next week in order to develop a plan as to how Vivendi
will produce further discovery materials. Particularly, we agreed that Vivendi will not raise
extraterritoriality as a bar to discovery and that Vivendi intends to produce documents related to
cybercafe licensing worldwide. However, by agreeing to provide documents and materials related to
foreign licensing, Vivendi is not waiving any right it may have to assert extraterritoriality as a defense in
the future. We also agreed that we would address the additional discovery concerns raised in my letter of
June 30 at our meeting. We look forward to working out a reasonable discovery plan with you next week.

Furthermore, in order to facilitate the discovery that needs to take place, we agreed to request a
three month extension of the trial date from the Court. We also agreed to an exchange of settlement
demands and a settlement conference as set forth in the stipulation. I have inserted the language that you
requested after your review of the stipulation this morning. I hereby authorize you to execute the
enclosed stipulation on my behalf. Please have it filed with the Court today.

Very truly yours,
PRESTON GATES & ELLIS LLP

/sf
By
Jason P. Holtman
JPH:jph
ce: Valve
KAG606S000T4 IPHVPH_ L21WT

~~“) oS OA

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 4 of 49

Honorable Thomas §. Zilly

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

VALVE, L.L.C., a Washington limited liability

company, Civil Action No. C02-1683Z
Piaintiff, STIPULATION AND [PROPOSED]
ORDER TO EXTEND DISCOVERY
Vv. CUTOFF, PRE-TRIAL DEADLINES
AND TRIAL DATE

SIERRA ENTERTAINMENT, INC. (AKA
SIERRA ON-LINE, INC.), a Delaware
corporation,

Defendant.

STIPULATION

Pursuant to Local Rule 37, the parties recently met and conferred regarding a
discovery dispute. The parties have reached a potential resolution of that dispute. It is
anticipated that the resolution of the parties’ discovery dispute will require the production of
substantial additional discovery, which will require additional time. Additionally, plaintiff
believes there may be a need to join additional parties to the lawsuit, namely Vivendi
Universal and Havas, corporate affiliates of Sierra Entertainment, Inc., and resolution of this
issue will require additional time. Therefore, in order to allow for full and complete discovery

in this case, the parties concur that the current pre-trial deadlines should be modified to allow

STIPULATION TO EXTEND

DISCOVERY CUTOFF, PRE-TRIAL

DEADLINES AND TRIAL DATE -1 PRESTON GATES & ELLIS LLP
925 FOURTH AVE

KA36063\0001 4WPHVJIPH_Peiws SLITE 2500

SEATTLE, WASHINGTON 98104-1153
TELEPHONE: (205) 623-7580
FACSIMILE (206) 623-7022

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additional time to finalize discovery. The current discovery cutoff of September 14, 2003 will
not allow sufficient time to exchange the additional discovery called for by the parties’
discovery plan.

The parties additionally stipulate that, even though they require an 3 month extension
of the trial date and corresponding case deadlines, they will exchange written settlement
demands by July 18, 2003 and that their attorneys will attend an in-person meeting before
July 25, 2003 in an effort to settle this matter. This stipulation is in addition to the CR
39.1(c)(2) obligations set forth below.

Accordingly, the parties hereby agree and stipulate that the remaining pre-trial

deadlines, and the trial date, should be extended for approximately 3 months, as follows:

(1) All motions relating to discovery must be

filed by and noted on the motion calendar no

later than the third Friday thereafter: November 13, 2003 (formerly August 15, 2003)
(2) Discevery completed by: December 15, 2003 (formerly Sept. 14, 2003)

(3) All dispositive motions must be filed by
and noted for the third Friday thereafter: January 14, 2004 (formerly October 14, 2003)

(4) Settlement conference per CR 39.1(c)(2)

held no Jater than: February 13, 2004 (formerly November 13, 2003)
(5) Mediation per CR 39.1(c)(3) held
no later than: March 12, 2004 (formerly December 13, 2003)
(6) All motions in limine must be filed by and
noted on the motions calendar no later than
the second Friday thereafter: March 15, 2004 (formerly December £5, 2003)
(7) Agreed pretrial order due: March 29, 2004 (formerly December 31, 2003)
(8) Pretrial conference to be
held at 3:00 p.m. on: April 2, 2004 (formerly January 2, 2004)
(9) Trial briefs, proposed voir dire questions, jury
instructions, and proposed findings of fact and
conclusions of law: April 7, 2004 (formerly January 7, 2004)
(10) TRIAL DATE: April 12, 2004 (formerly January 12, 2004)
Length of trial: 7-10 days.
STIPULATION TO EXTEND
DISCOVERY CUTOFF, PRE-TRIAL
DEADLINES AND TRIAL DATE - 2 PRESTON GATES & ELLIS LLP
925 FOURTH AVE
KA36063\00014.PHWPH_P21WS SUITE 2900

SEATTLE, WASHINGTON 98104-1158
TELEPHONE: (206) 623-7580
FACSIMILE. (206) 623-7022

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 6 of 49

DATED this day of August, 2003.

Presented by:
PRESTON GATES & ELLIS LLP

By

Karl J. Quackenbush, wsBa #9602
Jason P. Holtman, wspa #28233
Kristin J. Boraas, wsBa #32015
Attorneys for Plaintiff
Valve, L.L.C.

Approved as to form:
Approved for entry:

CHRISTENSEN O’ CONNOR JOHNSON
KINDNESS

By

F. Ross Boundy, wssa #403
Robert J. Carlson, wspa #18455
Mark P. Walters, wspa #30819
Attorneys for Defendant
Sierra Entertainment, Inc..

ORDER
IT IS SO ORDERED.
DATED: July , 2003.
Judge Thomas 8. Zilly
United States District Court
Western District of Washington
STIPULATION TO EXTEND
DISCOVERY CUTOFF, PRE-TRIAL
DEADLINES AND TRIAL DATE -3 PRESTON GATES & ELLIS LLP

925 FOURTH AVE

KA36063\0001 AJPHWPH_P21WS SUITE 2500

SEATTLE, WASHINGTON 98104-1158
TELEPHONE: (208) 623-7580
FACSIMILE: (206) 623-7022

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 7 of 49

EXHIBIT 13
Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 8 of 49

Preston|Gates | Ellis up

July 21, 2003
VIA FACSIMILE AND REGULAR MAIL

Mr. Robert J. Carlson

Christensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Valve, LLC y. Sierra Entertainment, Inc.

Dear Bob:

This letter is in response to your letter of July 17, 2003. In your letter, you state that
Vivendi is currently not engaged in licensing Valve games to cybercafés either in the United
States or abroad. Not only was Vivendi directly engaged in licensing cybercafes in the
Philippines, but it appears that this illicit licensing activity has been purposely hidden from
Valve by Vivendi.

Through our investigations, we have identified ongoing licensing activity of Valve games
to cybercafés by Vivendi and its agents. Vivendi should be able to provide you with its
“Cybercafe Commercial License” for Counter-Strike that it uses in the Philippines, which is
“deemed to have been made and executed in the State of California in the United States of
America.” J have attached one such recently discovered license. I have also attached a scan of a
Counter-Strike jewel-case that has a sticker reading:

HL: Counter-Strike
For Philippine Cyber Café Use Only
Sierra Entertainment

The evidence indicates that Vivendi’s licensing activities are not what Vivendi has
represented through you. In your letter of July 17, you state that “the distribution agreement
concerning AMDG’s distribution of Counterstrike in the Philippines. . plainly does not authorize
AMDG to distribute Counterstrike to cybercafes.” AMDG recently had on its website the
following advertisement:

AMDG offers Commerciai Site Licenses for Blizzard & Sierra Games!

Network Gaming Centers may now enjoy playing Vivendi Universal Games legitimately. AMDG now
offers a promotional Commercial Site Licenses STARTER PACK for Blizzard & Sierra award winning

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Anchorage Coeur d'Alene Hong Kong Orange County Portland San Francisco Seattle Spokane Washington. DC
Case 2:02-cv-0168

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Mr. Robert J. Carlson
July 21, 2003
Page 2

games. Included in this package are the new hit games “Warcraft II: Reign of Chaos” and the
phenomenal "Half-Life: Counter Strike’.

Along with these FREE titles “Aliens vs. Predator", “Empire Earth", "Diablo II" and "StarCraft".

Take advantage of this super offer now! Call AMDG at 757-5000 or 911-AMDG for inquiries.

While we do not agree with the representation in your letter, taking your letter at face value,
AMDG’s activities would constitute infringing and unauthorized conduct. Vivendi is obligated,
therefore, under the Software Publishing Agreement with Valve to cooperate with Valve to halt
potential infringement of Valve products. Section 4.4 of the Agreement provides as follows:

“In the event Sierra learns of any potential infringement or imitation of the Valve
Underlying Technology, or the Valve Trademarks, or any other proprietary rights
in or related to any of them, it will promptly notify Valve thereof. Sierra
acknowledges that Valve may take any such action as it deems advisable for the
protection of its nights in and to such proprietary rights, and Sierra shall, if
requested by Valve, cooperate in all respects therein at Valve’s expense.”

Under this contractual obligation, Valve requests that Vivendi provide assistance by immediately
informing AMDG in writing that it does not have a contractual right or any other authority to
distribute or license Counter-Strike for use in cybercafes. We believe that such a demand should
come from both of us in a joint letter. The joint demand does not exonerate Vivendi from
liability for its licensing of cybercafes in the Philippines, which Valve intends to fully investigate
and pursue, but Vivendi’s full, immediate and complete cooperation may help mitigate the
damage caused by Vivendi’s activities. As AMDG likely entered into site licenses for Counter-
Strike, the demand letter should also demand payment of all proceeds realized by AMDG from
its unlicensed, unauthorized, and illegal activity. We will draft a letter to this effect for your
review with the intent to send it to AMDG no later than tomorrow. In order to make the demand
most effective, we should also consider alerting the proper Philippine authorities by copying
them on the letter.

There is particular urgency to this matter as it appears that AMDG will be sponsoring an.
event on July 24 at which Counter-Strike will be featured. I attach for your reference what
appears to be the only remaining content on the AMDG website as of July 17, which was a pop-
up advertisement for a gaming event featuring Counter-Strike (apparently sponsored by Sierra
and Vivendi as well).

As for the content of the AMDG website, I checked the site after receiving your letter and
noted that its contents (except for the header) had been removed. While we do not yet know
who decided to remove the website’s content, or why such a decision was made, please take
affirmative steps to remind your client that both you and your client have an obligation to
preserve evidence. This includes any third parties, such as AMDG, with which Vivendi or its
agents may have communications about this issue. If Vivendi or a third party intends to remove

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Mr. Robert J. Carlson
July 21, 2003
Page 3

material in the future, please inform us and ensure that all information is preserved prior to
removal.

In your letter, you offered to investigate Vivendi’s possible role in alerting AMDG to our
investigation. Please do so and let me know who at Vivendi had such discussions with AMDG
and what the substance of the discussions was. As with all such evidence, please make sure that
any documents, notes, etc. are preserved in that regard and produced to us in your pending
production.

Finally, these issues are not “far afield from the pending litigation.” AMDG’s
relationship with Vivendi and its activities as Vivendi’s authorized agent are merely, in our
estimation, the tip of the iceberg. As we discussed two weeks ago, the issue of extraterritoriality
does not limit Vivendi’s discovery obligations. Therefore, though you may contend that these
issues are not relevant, we expect full and complete discovery in the near future so that we may
investigate Vivendi’s practices as we are entitled to do under the law.

Please contact me later this afternoon so that we can coordinate on an appropriate letter to
AMDG. Also, at that time, we can discuss Vivendi’s pending discovery obligations. Given the
amount of time that has elapsed, I would expect that Vivendi should be able to produce
documents and supplement its discovery responses by Thursday of this week.

Very truly yours,

PRESTON GATES & ELLIS LLP

By

Jason P. Holtman
JPH:jph

cc: Valve

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Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 11 of 49

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70: Mr. Robert J. Carlson FAX No: (206) 224-0779
Mark Walters

Christensen, O'Connor, Johnson Co eiayarion no: (206) 682-8100

COMPANY: = & Kindness PLLC

FROM: Jason P. Holtman
DATE: uly 21, 2003

CLIENT-MATTER NO: #36063-00014

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[ ] NAME:
EXT:

COMMENTS

I noted that my letter of today did not include the pop-up advertisement from the AMDG site. I
just spoke with Mark regarding the same. I have attached the screen shot of the ad. Please call

me today so that we may discuss AMDG,

Preston|GatesjEllis uw

A LAW FIRM

(14/03 Page 14 of 49

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Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08

Av OOh dae lal aioe Dl

To: Mr. Robert J. Carlson FAX NO: (206) 224-0779
Mark Walters
company; Chtistensen, ¥Connor, Johnson coyripwarion wo: (206) 682-8100
FROM: Jason P. Holtman CLIENT-MATTER NO: #36063-00014
DATE: July 21, 2003 TOTAL NUMBER OF PAGES iNCLUDING THIS COVER SHEET: £2.

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[ ] NAME:
EXT:

COMMENTS

I noted that my letter of today did not include the pop-up advertisement from the AMDG site. I
just spoke with Mark regarding the same. I have attached the screen shot of the ad. Please call
me today so that we may discuss AMDG.

The information contained in this facsimile is confidential and may also be attorney-privilaged. The information is intended only for
the use of the individual or entity to whom it is addressed. If you are not the intended recipient, or the employee or agent
responsible for delivering it to the intended recipient, you are hereby notified that any use, dissemination, distribution or copying of
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Case 2

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Preston|Gates|Ellis up

TO; Mr, Robert J. Carlson FAX NO: (206) 224-0779

COMPANY: CEE Johnson conFinmationNo: = (206) 682-8100

— Jason P. Holtman CLIENT-MATTER NO: #36063-00014

DATE: July 21, 2003 TOTAL NUM@ER OF PAGES INCLUDING THIS COVER SHEET; = 6

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[ ] NAME:
EXT:

COMMENTS

Please see attached.
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EXHIBIT 14

Case 2:02-cv-01683-T.SZ-MAT Document 17-4 Filed 08/14/03 Page 18 of 49

Preston Gates|Ellis ur

July 24, 2003
VIA FACSIMILE

Mr. Robert J. Carlson

Chnisstensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Valve, LLC v. Sierra Entertainment, Inc.
Dear Bob:

1 attach to this letter correspondence that Valve recently received from Vivendi. You will
see from the correspondence that Deanna Erickson, Vivendi’s Asia Pacific Brand Coordination
Manager, is proposing a special base-ball cap promotion in order to “benefit cafes who purchase
the software [Counter-Strike] from us [Vivendi].” As with the recent information that came to
light regarding Vivendi’s relationship with AMDG, this email is strong evidence that Vivendi is
actively and directly engaged in licensing and distributing Valve product to cybercafes
worldwide for the specific and known purpose that those games will be played in cybercafes,

Therefore, especially in regard to discovery, it has largely become untenable for Vivendi
to maintain its position that it is not actively engaged in licensing and distributing Valve products
to cybercafes worldwide.

Please note that Deanna Erickson’s files should be reviewed for responsive documents.
In previous correspondence, we have also added Patrick Sweeney and Michael Tan to the list of
persons that Valve believes will have responsive documents. We do not expect that it should be
necessary to identify all such persons to Vivendi due to the apparent involvement they have with
cybercafe issues. Please take steps to ensure that you have identified all appropriate personnel.

This additional collection and review should not delay the present production of
documents you have been promising to provide us in the very near term. As we previously
communicated, we expect Vivendi to deliver its supplemental discovery responses and document
production, including materials covering foreign licensing activity, by the end of day today, July
24, 2003.

Finally, we understand that you could not read the cyber café commercial license and the
CD-ROM jewel case attached to my previous correspondence. I was not aware that this was the

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Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 0

Mr. Robert J. Carlson
July 24, 2003
Page 2

case, and when I called to confirm with Mark Walters that you received the fax, I was not
informed of any legibility problems at that time. I assume you now have a clear copy of the
license and CD case. If this is not the case, please let me know and I will have a new copy
delivered today.

Very truly yours,
PRESTON GATES & ELLIS LLP
— a
y
Jason P. Holtman
JPH:kjb

ce: Valve

KAS6063\000 14\JPHWPH_L21Y?

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Holtman, Jason (SEA)

From: Holtman, Jason (SEA)

Sent: Thursday, July 24, 2003 11:32 AM
To: Holiman, Jason (SEA)

Subject: FW: Caps - Singapore

Follow Up Flag: Follow up

Flag Status: Flagged

CSHat_Q!01.pdf

From: Quintin Doroquez
Sent: Wednesday, July 23, 2003 3:21 PM
To: 'Fossa, Adam’
Cc: Doug Lombardi; Rossini, Lee
Subject: RE: Caps - Singapore

| would do the hats in Dark Blue. And, do the logo treatments in a couple of
options, budget allowing (considering the more the stitching, the more the
cost.

Attached.

-----Original Message---—

From: Fossa, Adam [mailto:Adam.Fossa@sierra.com]
Sent: Wednesday, July 23, 2003 2:48 PM

To: Doug Lombardi (E-mail}; Quintin Doroquez (E-mail)
Cc: Rossini, Lee

Subject: FW: Caps - Singapore

Hey guys,

Here are those ball caps | was rambling about. Aside from yanking the hokey
bullet hole, let me Know your thoughts.

thanks,
af

> --—-Origina! Message----

> From: Erickson, Deana

> Sent Wednesday, July 23, 2003 11:13 AM

>To: Fossa, Adam

> Subject: Caps - Singapore

>

> attached are the 2 cap images from Singapore

>

> The mechanics are:

> Players at a cyber cafe/LAN center who completes a stamp card for playing
> 24 hours (card not available yet) will get the cap for free. This is to

> benefit cafes who purchase the software from us rather than download them
> online.

> will only produce about 1,000 of them to be distributed FREE to the cyber

1

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 21 of 49

> cafes.
>
-> Deana Erickson
> Asia Pacific Brand Coordination Manager
> tel (310) 649.8522
> fax (310) 410.3827
> <<cap cs black.jpg>> <<cap cs gray.jpg>>

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Option 1

Option 2

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EXHIBIT 15
Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 24 of 49

Holtman, Jason (SEA)

From: Holtman, Jason (SEA)

Sent: Wednesday, July 30, 2003 12:54 PM

To: ‘Bob Carlson’

Cc: Sharon Hendricks; Mark Walters

Subject: RE: Discovery: continued lack of response

Bob, this is not a full or adequate response given my previous correspondence. Continuing to claim
irrelevance/extraterritoriality given the documents that have recently come to light (and which | have made you aware in
recent correspondence) is untenable. We need to have a discovery conference. Please tell me when you are available
this afternoon.

-----Original Message--—

From: Bob Carlson [mailto:carlson@cojk.com]
Sent: Wednesday, July 30, 2003 12:52 PM

To: ‘Holtman, Jason (SEA)

Cc: Sharon Hendricks; Mark Walters

Subject: RE: Discovery: continued lack of response

Jason, I've been out the last two days in a fairly complex mediation which
is now, thankfully, over. We are preparing to produce documents and I will
courier most if not all of our supplemental production to you this

afternoon. As I previously advised you, review of the documents for
privilege and confidentiality has been a time-consuming process.

We long ago produced the information on U.S. cybercafe licensing of Valve
games, which is the only genuine issue in this case. In order to accomodate
you, however, we have agreed to produce documents reflecting U.S. records of
foreign licensing activity, and even certain information related to Sierra's
activities in licensing non-Valve games, without waiving our objection that

this information is neither relevant nor reasonably calculated to lead to

the discovery of admissible evidence.

Bob

Robert J. Carlson

Christensen, O'Conner, Johnson, Kindness pllc
1420 Fifth Avenue, Suite 2800

Seattle, Washington 98101

Direct Dial (206) 695-1723

noe Original Message--—-

From: Holtman, Jason (SEA) [mailto:jasonh@prestongates.com]
Sent: Wednesday, July 30, 2003 9:06 AM

To: Bob Carlson; Mark Walters

Subject: Discovery: continued lack of response

Bob and Mark, Vivendi's lack of response to my communications regarding
discovery over the past two weeks is troubling. As you know, per my letter

of July 28, | asked that we have a discovery conference today at 11:00 am.
You have not provided a response even to my request for a conference. |
will be calling your offices at 11:00 today for that purpose. At this

point, | have done everything | can to engage in the discovery process
cooperatively with you, but it seems that Vivendi has left Valve no choice

but to bring a motion to compel. This is particularly troubling given that

we had reached an agreement four weeks ago that Vivendi would provide the
requested discovery. That agreement was reached in lieu of Valve bringing a

1

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 25 of 49

han my telephone conference with Mark

motion to compel at that time. Other
on July 9 (in which he represented to me that Vivendi would be collecting

- and producing documents), Vivendi has not engaged in the discovery process
in good faith nor as promised and continues to be evasive and
non-responsive. This is unacceptable and is needlessly delaying this suit.

Jason P. Holtman
PrestonlGatesiEllis LLP

925 Fourth Ave, Suite 2900
Seattle, Washington 98104-1158

Phone (206) 370-8397 (direct)
Fax  (206).370-6087 (direct)

Phone (206) 623-7580 (general)
Fax (206) 623-7022 (general)

email jasonh@prestongates.com

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 26 of 49

Holtman, Jason (SEA}

From: Holtman, Jason (SEA}

Sent: Wednesday, July 30, 2003 1:00 PM

To: ‘Bob Carlson’

Ce: Sharon Hendricks; Mark Walters

Subject: RE: Discovery: continued lack of response

Per my last email, we should have a discovery conference today given that you have not responded to my particular
discovery concerns in previous correspondence. During our conference, you can let me know which of those concerns
may have been taken care of by your production that you plan to provide today. This is not an unreasonable request and
will streamline the process. Please respond.

-----Original Message-----

From: Bob Carlson [mailto:carlson@cojk.com]
Sent: Wednesday, July 30, 2003 12:54 PM

To: ‘Holtman, Jason (SEA}'

Cc: Sharon Hendricks; Mark Waiters

Subject: RE: Discovery: continued lack of response

Jason, | just responded to your last email. Please review the documents
you'll receive today and then let me know if we have any further dispute.

Bob

-----Original Message-—--

From: Holtman, Jason (SEA) [mailto:jasonh@prestongates.com]
Sent: Wednesday, July 30, 2003 11:23 AM

To: Bob Carlson; Mark Walters

Subject: RE: Discovery: continued lack of response

Bob, you did not respond to my email below. | called at 11:00 and was
informed that you were in a meeting scheduled to last for an hour and a
half. Please call me this afternoon at 12:30. If you cannot reach me,
please have me paged by dialing the operator.

> saee Original Message-----

> From: Holtman, Jason (SEA)

> Sent: Wednesday, July 30, 2003 9:06 AM

>To: ‘Bob Carlson’; 'Mark Walters’

> Subject: Discovery: continued lack of response

>

> Bob and Mark, Vivendi's lack of response to my communications regarding
> discovery over the past two weeks is troubling. As you know, per my

> letter of July 28, | asked that we have a discovery conference today at

> 11:00 am. You have not provided a response even to my request fora

> conference. | will be calling your offices at 11:00 today for that

> purpose. At this point, | have done everything | can to engage in the

> discovery process cooperatively with you, but it seems that Vivendi has

> left Valve no choice but to bring a motion to compel. This is

> particularly troubling given that we had reached an agreement four weeks
> ago that Vivendi would provide the requested discovery. That agreement
> was reached in lieu of Valve bringing a motion to compel at that time.

> Other than my telephone conference with Mark on July 9 (in which he

> represented to me that Vivendi would be collecting and producing

> documents), Vivendi has not engaged in the discovery process in gocd faith
> nor as promised and continues to be evasive and non-responsive. This is

> unacceptable and is needlessly delaying this suit.
> .

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 98/14/03 Page 27 of 49

> Jason P. Holtman

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>

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> email jasonnh@prestongates.com

>

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 28 of 49

EXHIBIT 16
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July 30, 2003

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PRESTON GaTE%
Jason P. Holtman, Esq. ESTON GATES & ELLIS LLP

Preston Gates & Ellis LLP
925 Fourth Avenue

Suite 2900

Seattle, WA 98104

Re: Valve, LLC v. Sierra Entertainment, Inc.
USDC Wester District of Washington
Case No. CV02-16832,
Our Reference: VIUP-6-2343

Dear Jason:

Supplementing our previous document production, accompanying this letter are documents Bates
Stamped SIERRA000565 — SIERRA000926. As we previously discussed, while we do not
credit your contention that United States District Courts can adjudicate alleged copyright
infringements in foreign countries, we have agreed to provide to you records kept in the United
States Offices of Sierra and its corporate affiliates related to cybercafé licensing.

Note that some of the information supplied concerns game licensing in general, and may include
information on games in which Valve has no ownership interest. Further, some of the
information concerns licensing of both Valve and non-Valve games to entities other than
cybercafés. Production of this information does not waive Sierra’s objection that the scope of
your interrogatories and requests for production is over broad, or that the information you had
requested is neither relevant nor reasonably calculated to lead to the discovery of admissible
evidence in this matter.

Concerning the printouts of emails, you may note that the header in many of these email
printouts states “Pam Teiler.” Pam is a paralegal at Sierra who was assigned the task of printing
out hard copies of emails, and the header appears as a consequence of the emails having been
printed from her computer. Please do not assume that Pam had knowledge of or participated in
preparing the content of any of the emails simply by virtue of her name appearing on the
printouts,

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Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 30 of 49

fason P. Holtman, Esq.
July 30, 2003
Page 2

A further supplemental production will follow shortly. Thank you.
Very truly yours,

CHRISTENSEN O'CONNOR
JOHNSON KINDNESS"

Robert J. Carlson
Direct Dial No.: 206.695.1723
E-Mail Address: carlson@cojk.com

RJC:skh
Encs.
cc: Sierra Entertainment, Inc. (w/o encs.)

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Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 31 of 49

EXHIBIT 17

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 32 of 49

Preston Gates/Ellis ur

July 31, 2003

VIA FACSIMILE AND REGULAR MAIL
Mr. Robert J. Carlson
Christensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue
Suite 2800
Seattle, WA 98101-2347

Re: Valve, LLC v, Sierra Entertainment, Inc.

Dear Bob:

We have recently received further evidence that Vivendi is directly engaged in licensing
cybercafes worldwide. I have attached for your reference an email received by Mike Dunkle of Valve
from Uschi Glass of CoinBox/get?gate Terminal Technology. I have also attached an example webpage
from Coinbox’s website.

Please tell us immediately whether Vivendi Germany has been offering/licensing Valve products
for use as set forth in Mr. Glass’ correspondence. It appears that Vivendi Germany is offering a license
for OEM distribution of Valve products for the purpose of facilitating/licensing use of those products in
cybercafes, which is clearly outside the scope of the license granted to Vivendi. Given this evidence, we
would, of course, expect that all documents that are responsive to our discovery requests will be collected
from Vivendi Germany and that Vivendi’s interrogatery answers will be supplemented accordingly.

We also intend to answer Coinbox and Iet them know that only Valve has the right to license
cybercafes and to provide Valve products in the OEM channel. Please respond promptly.

Very truly yours,
PRESTON GATES & ELLIS LLP
Ce

Jason P. Holtman

JPH
CC: Valve
KAZ6063\00044WPHWPH _E21YO

A LAW FIRM A LIMITED LIABILITY PARTNERSHIP INCLUDING OTHER LIMITED LIABILITY ENTITIES

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Anchorage Coeur d'Alene Hong Kong Grange County Portland San Francisco Seattle Spokane Washington, DC

. Holtman, Jason (SEA)

From: Holtman, Jason (SEA)

Sent: Wednesday, July 30, 2003 1:34 PM
To: Holtman, Jason (SEA)

Subject: FW:

From: u.glass@coinbox.de [mailto:u.glass@coinbox.de]
Sent: Thursday, July 24, 2003 12:43 AM

To: contact@valvesoftware.com

Subject:

Dear sirs,

we are a company in Germany which sells PC's to kind of public internetcafes

with your game "Half Life Generation 3" include for network-games. Here in
Germany we buy the game and the licence from Vivendi Germany. The commercial
use is here allowed.

Now we want to sell our PC's complete with the installed game to France to
give the customers the possiblity to play "Half Life" together in network in
public cafes. We heard about problems in France for the commercial use of
this game. Can you give us informations what we have to do to get a licence
for playing your game in public cafes in France?

I'm looking forward to your answer.
With kindly regards

Uschi Glass
Vertrieb

+49 8323 96789-2
u.glass@coinbox.de

ccinbox

get2gate Terminal Technology
Grintenstrake 5

87509 Immenstadt
Deutschland

Telefon +49 8323 96789-0
Telefax +49 8323 96789-9

www. coinbox.de

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TO: Mr. Robert J. Carlson FAX NO: (206) 224-0779

COMPANY: aed ee Johnson cONFIRMATIONNG: (206) 682-8100

FROW: Jason P. Holtman CLIENT-MATTER NO: #36063-00014

DATE: July 31, 2003 TOTAL NUMBER OF PAGES INCLUDING THIS COVER SHEET: = 3

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EXHIBIT 18

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‘ Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 38 of 49

Preston. Gates! EMs up

August 4, 2003

VIA FACSIMILE AND MAIL

Mr. Robert J. Carlson

Christensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Valve, LLC v. Sierra Entertainment, Inc.
USDC Western District of Washington
Case No.: CV02-1683Z
Our Reference No.: 36063-00014

Dear Bob:

lam writing in regard to your supplementation of previously produced documents
identified as SIERRA000565 through SIERRA0001130. There are unexplained gaps in the
numbering sequence as follows: 814-819, 927-930, 935-937, 939-942, 944, 950, 975, 1058-
1066 and 1075-1098. Please provide the above mentioned documents or identify the reason for
the gaps.

Further, Vivendi’s supplemental production was slim and did not address the discovery
issues which | have been attempting to discuss with you. I once again ask that you find time to
respond to my previous letters and to have a prompt conference so that we may address
Vivendt’s continued, unreasonable resistance to efficient and meaningful discovery in this

matter.
/ Very truly yours, :
PRESTON GATES & ELLIS LLP
ae a
By
Jason P. Holtman
JPH:dt

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to: =. Mr. Robert J. Carlson Fax NO: (206) 224-0779
Christensen, O'Connor, J

COMPANY: = Rindness PLLC or, Johnson CONFIRMATIONNO: (206) 682-8100

FROM: Jason P. Holtman CLIENT-MATTER NO: #36063-00014

DATE: August 4, 2003 TOTAL NUMBER OF PAGES INCLUDING THIS COVER SHEET:

IF YOU DO NOT RECEIVE ALL OF THE PAGES, PLEASE CONTACT: [X] FAX OPERATOR: (208) 623-7550

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Case 2:02-cv-01683-TSZ+MAT Document 17-4 Filed 08/14/03 Page 40 of 49

AUG-O4-2003 MON 11:54 AM CHRISTENSEN 0’ CONNOR FAX NO. 208 924 0779
i ift , Suite 28
CHRISTENSEN 1” Offices sect Wechington 98101-2347

O'CONNOR
J OHNSON 206.682.8100 phone

intellectual Prooerty Law 206.224.0779 fax

KINDNESS.” and Related Litigation www.cajk.com

August 4, 2003

VIA FACSIMILE ONLY

Jason P, Holman, Esq.
Preston Gates & Ellis LLP
925 Fourth Avenue

Suite 2900

Seattle, WA 98104

Re: Valve, LLC v. Sierra Entertainment, Inc.
USDC Western District of Washington
Case No. CV02-16837
Our Reference: VIUP-6-2343

Dear Jason:

This responds to your fetter of this morning. The documents having the Bates numbers
referenced in your letter have been withheld as attorney-client privilege materials, and my
paralegal is working on a detailed privilege log which we will forward to you. We will also
further supplement our document production, but please recognize that your insistence upon
receiving materials wholly unrelated to this litigation (.e., dealing with the licensing of
cybercafés outside of the United States, and, therefore, plainly not within the scope of U.S.
copyright law) has greatly and needlessly complicated discovery in this matter. We have agreed
to produce records held by Sierra and its corporate affiliates within the United States concerning
cybercafé licensing overseas, but because of the timing and distances involved, most of the
associated communications take place via e-mail. Long strings of e-mail messages, therefore,
must be reviewed message by message for privileged material.

You have not provided any information about what you wish to discuss in a Rule 37 conference,
but Mark Walters and I will be available from 11:00am. to noon tomorrow, Tuesday,
August 5", if that will accommodate your schedule. Please let me know.

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Case 2:02-cv-01683-TSZIMAT Document 17-4 Filed 08/14/03 Page 41 of 49
AUC-04-2003 MON 11:54 AM CHRISTENSEN 0’ CONNOR FAX NO. 206 ‘24 0779

Jason P. Holtman, Esq.
August 4, 2003
Page 2

T will write under separate cover to address the questions you have raised concerning the
activities of AMDG in the Phillipines and your contentions about licensing in Germany.

Very truly yours,

CHRISTENSEN O'CONNOR
JOHNSON KINDNESS™*

Robert J. Carison
Direct Dial No.: 206.695.1723
E-Mail Address: carlson@cajk.com

RIC:skh

ce: Sierra Entertainment, Inc.
Mark P, Walters, Esq.
F. Rass Boundy, Esq. .

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CHRISTENSEN | “”en" SEATICE, WASHINGTON 9801-234
O'CONNOR. TRLEPHONE: 206 682.6100
JOHNSON _ | ititcicndat peoreeny matrens pax: 208.224.0729

KINDS IES grec INTERNET: wew.caik.com

FACSIMILE COVER SHEET
DATE: August 4, 2003
TO: Jason P. Holtman, Esq.
PRESTON GATES & ELLIS
FACSIMILE NO: 206.623.7022
RE: Falve, L.LC. v. Slerra Entertainment, Ine.

Civil Action No. CV02-1683
OUR REFERENCE: VIUP-6-2343
FROM: Rohert J. Carlson, Esq.

(Facsimile No. 206.224.0779)
MESSAGE: Please see attached correspondence.

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or agent responsible to deliver it to the intended recipient, any distribution or copying of this communication is
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We have. pages to transmit, including this sheet.
If any pages need to be retransmitted, please cal] 206.695.1610.

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Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 43 of 49

Preston|Gates|Eilis up

August 4, 2003
VIA FACSIMILE AND MAIL

Mr. Robert J. Carlson

Christensen, O'Connor, Johnson & Kindness PLLC
1420 Fifth Avenue

Suite 2800

Seattle, WA 98101-2347

Re: Valve, LLC vy. Sierra Entertainment, Inc.
USDC Western District of Washington
Case No.: CV02-16832
Our Reference No.: 36063-00014

Dear Bob:

J am writing m regard to our CR 37 conference scheduled for tomorrow at 11:00 a.m.
The following is a brief outline of some of the issues that I would hike to discuss during the
conference.

Vivendi’s Untenable Discovery Position in Regard to Extraterritoriality. Vivendi
cannot continue to raise extraterritoriality as a reason to avoid its discovery obligations. Valve
has discovered clear evidence of Vivendi and its agents and affiliates directly engaged in
infringing conduct both in the United States and overseas. Particularly, as I have pointed out in
previous correspondence, Vivendi’s contracts with its overseas distributors and the licenses that
Vivendi uses overseas, by their own terms, are “deemed to have been made and executed in the
State of California in the United States of America.” Additionally, we have sent you numerous
instances of Vivendi’s direct involvement in cybercafe licensing activities overseas, including:

e the AMDG distributor agreement;

* acommercial site license used by AMDG that has Vivendi Universal Games listed as the
licensor;

* a Counter-Strike jewel box distributed by AMDG marked: “For PHILIPPINE CYBER CAFE USE
ONLY; SIERRA ENTERTAINMENT”;

* correspondence from a German company called CoinBox that claims Vivendi is offering
OEM licenses for Valve products for use in cybercafes, and

e recent email from Deana Erickson (VUG’s Asia Pacific Brand Coordination Manager)
soliciting Valve’s input on a Vivendi promotion aimed at Asia Pacific use of Valve
products in cyber cafes.

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Case 2:02-cv-01683-T $Z-MAT Document 17-4 Filed 08/14/03 Page 44 of 49

Mr. Robert J. Carlson
August 4, 2003
Page 2

Clearly, Vivendi and its affiliates are directly involved in overseas distribution and licensing of
Valve products to cybercafes. Such activity is well-beyond the narrow exception for “mere
authorization” that was discussed in SubaFilms.

Additionally, in resisting discovery of overseas activities, you repeatedly rely upon
Vivendi’s belief that it is allowed to license and provide Valve Products to cybercafes because it
is allowed to “‘rent, lease and license’ Valve games worldwide on tangible media, i.c., as Retail
Packaged Product.” [Carlson Ltr 7/22/03]. As you know, Valve disagrees with Vivendi’s
interpretation of the scope of its license under the Agreement in this regard. Regardless of
Vivendi’s proffered interpretation, Valve is entitled to discover the extent and scope of Vivendi’s
activities under the Agreement.

Therefore, Vivendi has no reason to maintain its discovery objection based on
extraterritoriality. As we discussed last month when Valve agreed to hold its motion to compel
in abeyance, I am not asking that Vivendi waive any right it may have to raise an
extraterritoriality argument in the future, but I will ask that you withdraw Vivendi’s objection for
the purposes of discovery so that we can be assured that Vivendi is collecting and producing
documents as it is obligated to do under the rules.

Vivendi’s Failure to Collect and Produce Responsive Documents in a Timely
Manner. In refusing my request that we hold a discovery conference last week, you suggested
that I wait for and then review Vivendi’s supplemental production. I have done so. Vivendi,
however, produced additional documents that did not comport with the promised scope of
production. An initial review demonstrated that the documents were largely (1) additional email
files from Dawn Gonzalez and some marketing plans (which we assume came from Ms.
Gonzalez’s files as well), and (2) some of Vivendi’s foreign distributor agreements. Contrary to
Mark Walter’s representations to me during a telephone conference on July 9, absent from your
latest production were any documents from the following Vivendi representatives and/or

employees: Adam Fossa, Lee Rossini, Ron Robinson, Mike Kaplan, Cris Schenck, and Phil
O'Neil.

There was also no production related Vivendi’s country territory managers (Mr. Walters
also represented that these files would also be collected and reviewed). Neither was there
production from the files of Vivendi employees identified in the parties’ preliminary witness
disclosure. As set forth in our previous correspondence, we also expect documents to be
produced from the files of Deanna Erickson, Michael Tan, and Patrick Sweeney.

Additionally, just from the small amount of material that you produced from Dawn
Gonzalez’s files, the following persons, because they were corresponding with Dawn Gonzalez
in regard to cybercafe licensing, would appear to have responsive documents: Brad Beegle, Ed
Phillips, Jim McKee, Bryce Nakasato, Edward Zinser, Nicholas Longano, Stephen Farr-Jones,

Case 2:02-cv-01683-TSZ-MAT Document 17-4 Filed 08/14/03 Page 45 of 49

Mr. Robert J. Carlson
August 4, 2003
Page 3

Olivia Bellingham, Pierre Lansonneur, Sophie Paccoud, Valerie Poisson, Peter Della Penna,
Annte Eckels, Jennifer Alas, Rod Rigole, Esq., Dan Trunk, Leslie Hollingshead, and Sylvia
Whiteshield.

Although we have compiled this list of custodians from persons who appear to us to have
responsive materials, I wish to be clear that Vivendi has an obligation to conduct a reasonable
investigation in responding to our discovery requests. Therefore, the list set forth above (while a
start) is not the extent of the search and production that we believe Vivendi should undertake.

Therefore, we should discuss when and how Vivendi expects to produce documents
responsive to Valve’s first set of discovery requests, which were served nearly four months ago.
Given the slim production that you have provided to date, we should work to set reasonable
production deadlines and expectations so that there will be sufficient time for follow-up
discovery, depositions, and expert reports. I would also suggest that the electronic documents be
produced in electronic form.

Vivendi’s Failure to Engage in Cooperative/Meaningful Discovery. I have
unsuccessfully attempted to contact you directly a number of times over the last few weeks in
order to efficiently work through our discovery differences. You have consistently failed to
return any of my telephone calls. Instead, you have insisted that we only communicate by
writing. As [ have let you know in the past, I believe this is a needless delay in the discovery
process and stands im the way of quickly resolving issues. During our discovery conference, we
shouid discuss how to open and maintain more efficient means of communication.

Very truly yours,

PRESTON GATES & ELLIS LLP

By .
Jason P. Holtman

JPH;jph

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RESULT OK

Preston|Gates|Ellis ur

To: Mr. Robert J. Carlson FAX NO: (206) 224-0779
Mark Walters
Christensen, O'Connor, Johnson
COMPANY: = Kindness PLLC CONFIRMATIONNO: (206) 682-8100
FROM: Jason P. Holtman CLIENT-MATTER NO: #36063-00014
BATE: August 4, 2003 TOTAL NUMBER OF PAGES |NCLUDING THIS COVER SHEET: 4

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[ ] NAME;
EXT,

COMMENTS

Please see attached.

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O'CONNOR
J OHNSON 206.682.8100 phone

intellectual Property Law 206.224.0779 fax

KINDNESS.” and Related Litigation www. cojk.corm

August 4, 2003
VIA FACSI E ONLY

Jason P. Holtman, Esq.
Preston Gates & Ellis LLP
925 Fourth Avenue

Suite 2900

Seattle, WA 92104

Re: Falve, LLC y, Sierra Entertainment, ine,
USDC Western District of Washington
Case No. CV02-16832
Our Reference: VIUP-6-2343

Dear Jason:

This is to clarify the position of Sierra Entertainment, Inc. in light of your recent correspondence.
To reiterate, your complaint alleges only that Sierra has violated U.S. copyright law by licensing
Valve games to cybercafés. We contend that Sierra is entitled to license the rental and lease of
the Valve game software to cybercafés, as explicitly authorized by the Agreement, subject to the
payment of royalty.

In response to your discovery requests, we provided you with all documentation conceming
Sierra's licensing of cybercafés located within the U.§. In response, you demanded information
about licensing of cybercafés in forcign countries, and we objected on the basis of the
extraterritoriality doctrine. You responded, in your letter of June 30" indicating that you felt
Valve was entitled to discovery regarding activities ip Sierra's U.S. offices, and between those
offices and foreign offices. Although we disagree that this discovery is relevant or likely to lead
to the discovery of admissible evidence in this matter, we agreed with your proposal to provide
correspondence between U.S. offices and foreign offices concerning licensing of foreign
cybercafés,

Your letter of July 31“, however, completely departs from that agreement. You reference the
activities of "Vivendi Germany" concerning the licensing of Valve products to a German
business which you contend is a cybercafé, and state that you would, therefore, “expect that all
decuments that are responsive to our discovery request will be collected from Vivendi
Germany.”

While we disagree with your position, even under your own analysis, there is plainly no U.S.
nexus which would concern U.S. copyright laws. Jason, you continue to treat this case as if it is
a breach of contract action, but you have pleaded only a violation of U.S. copyright. Activities
of Sierra's European affiliates with respect to European cybercatiés are plainly not relevant to the
action as pleaded.

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CHRISTENSEN Law Offices 1420 Fifth Avenue, Suite 2800
Seattle, Washington 98101-2347

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Jason P, Holtman, Esq.
August 4, 2003
Page 2

As an aside, although it goes without saying, it is our position that Sierra's European affiliates
have the full and complete right to license cybercafés if authorized to do so by Sierra, If Valve,
therefore, intends to advise a past licensee of Vivendi Germany that Valve is the only entity
which can license Valve games, Vivendi Germany will hold Valve liable for interference with its
business expectations.

With respect to your ‘etter concerning Valve's letter to Asian Media Development Group
CAMDG"), we disagree with your characterization of AMDG as "Vivendi's agent in the
Philippines." Nevertheless, we do not have any information to confirm your assertion that
AMDG is raiding cybercafés and forcing them to enter into license agreements for Valve
products. Please provide specific examples, identifying names, dates and locations of Philippine
cybercafés which have been "raided" by AMDG.

In response to your request, here is the contact information we have for AMDG:

Mr. Arturo B. Diago, Jr., President

Asian Media Development Group

2/F Jannoy Plaza, 2295 Den Chino Roces Avenue
1231] Makati City, Philippines

Tel: +63/2-757-5000

Fax: +63/2-757-5004

e-mail: gerry.castro@pacific.net.ph

In accordance with your demand, | am informed that no one from Vivendi has delivered a copy
of Valve's letter to AMDG. As to the content of your letter to AMDG, we reiterate the
objections set forth in my letter to you dated July 24, 2003.

Finally, I reiterate the request set forth in my letter of July 22, 2003: please provide all relevant
information concerning when, and from whom, you received the "license" and CD-ROM jewel
case referenced in your July 21 letter.

Very truly yours,

CHRISTENSEN O'CONNOR
JOHNSON KINDNESS?™*

Robert J. Carlson
Direct Dial No.: 206.695.1723
E-Mail Address: carlson@ecojk.com
RyC:skh
ec: Sierra Entertainment, Inc.
Mark P, Walters, Esq.
F. Ross Boundy, Esq.

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TELBPHONE: 206.682.8100

PATENT, TRADEMARK ANP OTHER
INTELLECTUAL PROPERTY MATTARS FAX; 206.224.0779
INTERNET: www.cojk com

FACSIMILE COVER SHEET
DATE: August 4, 2003
TO: Jason FP. Holtman, Esq.
PRESTON GATES & ELLIS
FACSIMILE NO: 206.623.7022
RE: Valve, L.L.C. v, Sierra Entertainment, Inc.

Civil Action Na, CV02-1683
OUR REFERENCE: VIUP-6-2343
FROM: Robert J. Carlson, Esq.

(Facsimile No. 206.224.0779)

MESSAGE: Please see attached correspondence.

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skh

